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United States Courts
Southern District of Texas

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE SOURTHERN DISTRICT OF TEXAS SEP 11 2018 owe
LAREDO DIVISION David J. Bradley, Clerk

Laredo Division

 

PETITION FOR WRIT OF HABEAS CORPUS BY

A PERSON IN STATE CUSTODY

 

MICHAEL WILFRED LAFLAMME
PETITIONER

V.

LORIE DAVIS,DIRECTOR
RES PONDANT

 

 

APPENDIX

TAB-A,B,C,D,E,F
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APPENDIX

TAB "A" OPINION OF FOURTH COURT OF APPEALS

 
 

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Laflamme v. State

Court of Appeals of Texas, Fourth District, San Antonio
June 14, 2017, Delivered; June 14, 2017, Filed
No. 04-15-00806-CR

Reporter
2017 Tex. App. LEXIS 5393 *; 2017 WL 2561582

Michael Wilfred LAFLAMME, Appellant v. The STATE of
Texas, Appellee

Notice: PLEASE CONSULT THE TEXAS RULES OF
APPELLATE PROCEDURE FOR CITATION OF
UNPUBLISHED OPINIONS.

Subsequent History: Petition for discretionary review
refused by Jn re LaFlamme, 2018 Tex, Crim. App.
LEXIS 283 (Tex. Crim. App., Feb. 7, 2078)

 

Prior History: [*1] From the 406th Judicial District
Court, Webb County, Texas. Trial Court No.
2013CRW160-D4. Honorable Oscar J. Hale, Jr., Judge
Presiding.

Disposition: AFFIRMED.

Core Terms

 

trial court, judicial notice, notice, juror, peremptory,
contends, sentencing, documents, Exhibits, arrests, pet,
punishment phase, unadjudicated, introducing evidence,
prior conviction, photographs, overrule, stand-by,
asserts, records, strikes, seated

Counsel: For APPELLANT: Michael Wilfred Laflamme
#2045009, String Fellow Unit, Rosharon, TX.

For APPELLEE: David L. Reuthinger, Jr., Webb County
District Attorney's Office, Laredo, TX.

Judges: Opinion by: Irene Rios, Justice. Sitting:
Sandee Bryan Marion, Chief Justice, Karen Angelini,
Justice, Irene Rios, Justice.

Opinion by: Irene Rios

Opinion

 

MEMORANDUM OPINION

AFFIRMED

BACKGROUND

This appeal arises from Michael LaFlamme’s jury
conviction of intoxication assault with a deadly weapon.
The underlying incident occurred on November 3, 2011,
when LaFlamme struck Edna Gonzalez with his vehicle
as she took her morning walk. Although LaFlamme was
detained at the scene, he was not arrested until a few
days later when a toxicology test returned positive for
the presence of morphine and benzoylecgonine, a
cocaine metabolite. Following a jury trial in which
LaFlamme elected to represent himself, he was
convicted and sentenced to sixteen years’
imprisonment. !

ANALYSIS

Issue One: Admission of Emergency Room
Photographs into Evidence During Punishment

LaFlamme asserts the trial court erred by admitting [*2]
Exhibits 37 and 38 during sentencing because the
photographs in these exhibits were not relevant and
were unduly prejudicial.

Gonzalez's sister, Diana Escamilla, testified during the
sentencing phase. During her testimony, the State
admitted Exhibits 37 and 38, which were photographs of
Gonzalez while in the hospital after receiving medical
treatment and surgery. LaFlamme did not object to
admission of these photographs. He asserts on appeal
the trial court should have "sua sponte rejected the

 

‘LaFlamme's sentence was enhanced because of prior
convictions.

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photographs as irrelevant and highly prejudicial.”

To preserve error regarding the admission of evidence,
a defendant must present a timely and specific objection
even if any erroneous admission implicates a
constitutional right. Tex. R. App. P. 33.1; Saldano_v.
State, 70 S.W.3d_873, 889 (Tex. Crim. App. 2002).
Martinez v. State, 22 S.W.3d 504, 507 (Tex. Crim. App.

2000).

Because LaFlamme did not object to admission of
Exhibits 37 and 38, he has not preserved for appellate
review any complaint that the trial court erroneously
admitted these exhibits. We, therefore, overrule
LaFlamme's first issue.

 

Issue Two: Judicial Notice of Prior Convictions
During Punishment

In his second issue on appeal, LaFlamme challenges
the trial court's decision during sentencing to take
judicial notice of two documents. His challenge is
twofold. First, LaFlamme [*3] contends the trial court
erred by taking judicial notice of two documents as
certified judgments of two prior convictions because his
prior criminal history is not a fact of which a court may
take judicial notice and because the trial court lacked
the power to take judicial notice of the conviction
records of other courts. Second, LaFlamme contends
that because the trial court erred by taking judicial notice
of his prior convictions, the judgments were erroneously
admitted and improperly used to enhance his sentence.

Standard of Review

A trial court may take judicial notice of an adjudicative
fact that is not subject to reasonable dispute "because it:
(1) is generally known within the trial court's territorial
jurisdiction; or (2) can be accurately and readily
determined from sources whose accuracy cannot
Comme'ns, Inc. v. Coronado, 372 S.W.3d_ 621, 623
(Tex. 2012). Upon taking judicial notice of adjudicative
facts, the trial court authorizes the fact-finder to accept
the truth or existence of those specific facts without
requiring formal proof. Waits v. State, 99 S.W.3d_ 604,
609-10 (Tex. Crim. App. 2003). Adjudicative facts which
may be judicially noticed are those relevant to the
ultimate issue in dispute, but are not themselves the

 

standard, a court will take judicial notice of another

court's records if a party provides proof of the records,”
such as proper authentication or certification. Ex parte
Wilson, 224 SW 3d_860. 863 (Tex, App.—Texarkana
2007, no pet.) ("Judicial records ... from a domestic
court other than the court being asked to take judicial
notice ... are to be established by introducing into
evidence authenticated or certified copies ... of those
records."); Perez v. Williams, 474 S.W3d 408, 419
(Tex. App.—Hoeuston [1st Dist] 2075, no_ pet). A trial
court's action in taking judicial notice is reviewed for an
abuse of discretion. In Matter of Estate of Downing. 461
S.W.3d_ 231, 239 (Tex. App.—E/ Paso 2015, no pet):
Keller v. Walker, 652 SW 2d 542, 543 (Tex. App.—

Dallas 1983. no writ).

 

 

 

 

 

During the sentencing phase of trial, the State
requested the trial court "take judicial notice of two
certified judgments." Over LaFlamme's objection, the
trial court took judicial notice and admitted State's
Exhibits 35 and 36. The trial court specifically limited its
judicial notice to the fact that the exhibits were "certified
documents", thereby obviating the State's need to
authenticate them. See Ex parte Wilson, 224 S.W.3d at
863, Perez. 474 S.W.3d_ at 479. Although the trial court
did not preside over the prior convictions, it did have the
discretion to take judicial notice the documents
presented were certified documents. See Ex parte
Wilson, 224 S.W.3d at 863; Perez, 474 S.W.3d_ at 419.
The State elicited testimony from Officer San Miguel of
the Laredo Police Department that each of the certified
documents were judgments [*5] of conviction of a
Michael Wilfred LaFlamme. Thereby, the State
presented evidence from which the jury could link the
two certified judgments of the previous convictions with
Michael Wilfred LaFlamme, the defendant in the case
before them.

After reviewing the record, we conclude the trial court
did not err by taking judicial notice that the documents
were certified and admitting the documents into
evidence.

We overrule LaFlamme’s second issue.

Issue Three: Notice of State's Attempt to Introduce
Evidence of Unadjudicated Arrests During the
Punishment Phase

In his third issue, LaFlamme does not challenge specific
trial court error but instead contends the State
committed error by neglecting “a continuous duty to
provide the necessary notice to [LaFlamme]" of its intent

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to use "extraneous bad acts" during the punishment
phase. Construing LaFlamme's brief broadly, it appears
LaFlamme argues his due process rights were violated
because the State failed to provide him with notice
required under Texas Rule of Evidence 404(b) of its
intent to present evidence of unadjudicated arrests
during the punishment phase.?

 

The record reflects that during the punishment phase of
trial, the State attempted to introduce [*6] evidence of
LaFlamme's previous unadjudicated arrests. LaFlamme
objected and discussion ensued whether the State had
provided LaFlamme the notice required by Rule of
Evidence 404(b). The trial court determined notice had
been given to previous attorneys who represented
LaFiamme in a prior trial and during the present
litigation; however, the notice was not provided to
LaFlamme when he waived representation and elected
to proceed pro se. The trial court sustained LaFlamme's
objection and excluded evidence of unadjudicated
arrests.

Because the trial court sustained LaFlamme’s objection
to the State's failure to provide any notice of its intent to
introduce evidence of prior unadjudicated arrests and
excluded the evidence, LaFlamme presents no trial-
court error for this court's review. See Badall v, State,
216 S.W.3d 865, 872 (Tex. App.—Beaumont, pet. ref'd)
(holding appellant failed to preserve issue for review
when his objections were sustained, and he requested
no further relief).

 

We overrule LaFlamme's third issue.

Issue Four: Assistance of Stand-By Counsel During
Trial

 

2 Article 37.07(3}(g) of the Code of Criminal Procedure—rather
than Rule of Evidence 404/(b)—governs the admissibility of
extraneous-offense evidence during the punishment phase of
trial. Compare Tex. Code Crim. Proc. Ann. art. 37.07, § 3(q)
(West Supp. 2016) (relating to evidence introduced during
punishment phase of trial); 7ex. R. Evid. 404(b) (relating to
evidence introduced during guilt phase of trial); see also
Ramirez _v. State. 967 S.W.2d 919, 923 (Tex. App. —
Beaumont_1998. no pet.) (Rule 404(b) does not apply to
evidence that State intends to introduce only during
punishment). Because article 37.07, § (3}(q@) requires notice in
the same manner as Rule _404(b), we will liberally construe
LaFlamme's brief as reference to article 37.07. See Francis v.
State, 445 SW.3d 307, 318 (Tex. App.—Houston fist Dist]
2013), affd, 428 S.W.3d 850 (Tex. Crim. App. 2074).

 

 

 

 

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It is undisputed that prior to trial LaFlamme waived
counsel and was allowed to proceed pro se. It is also
undisputed the trial court dismissed court-appointed
counsel Eduardo Castillo but required him to
remain [*7] in the courtroom for the sole purpose of
being ready should LaFlamme decide to proceed with
counsel. The trial court designated Mr. Castillo as
"stand-by counsel." LaFlamme concedes the trial court
provided adequate admonitory instructions about
proceeding pro se and unequivocally and clearly
expressed the purpose of standby counsel's presence at
trial — to represent Mr. LaFlamme should he choose to
no longer represent himself.

In this issue on appeal, LaFlamme contends that after
these instructions, the trial court then questioned Mr.
Castillo regarding the Rule 404/b) notice he received
from the State and also "allowed Mr. Castillo to aid
[LaFlamme] by calling defense witnesses," yet
prevented Mr. Castillo from assisting LaFlamme during
trial. LaFlamme argues "[t]his inconsistency of the
presence and purpose of stand-by counsel, created
confusion and inadequacy on the part of Mr. LaFlamme,
and interfered with both his right to counsel and the right
to represent himself, resulting in a denial of due
process. Indeed, by allowing and then disallowing
assistance of stand-by counsel, the trial court
undermined the efficacy of the entire trial itself." Finally,
LaFlamme asserts "[t]his scenario denied [him] due [*8]
process and his right to a fair trial by conflagrating his
right to counsel and his right to represent himself."

With regard to the two incidents that LaFlamme
contends created inconsistency and confusion, review
of the record reveals that during LaFlamme’s case in
chief, he requested to call as a witness the emergency
room nurse; however, he was not able to ascertain
whether she had been served to appear. Because
LaFlamme was in custody and was not allowed to leave
the courtroom, the trial court requested Mr. Castillo’s
assistance to go into the hall to see if the witness was
waiting or to call her to ascertain whether she had been
served to appear as a witness. At that time, the trial
court stated, "I'm not asking you to take an active role
other than looking into the whereabouts of Ms. Viridiana
Garza and informing her that there's a subpoena that
she has not been served yet. But if you can see about
her availability today, if you could look into that for us.”
Mr. Castillo assisted the trial court as requested and
eventually located the witness who agreed to come
testify. LaFlamme did not object to the trial court's
request for assistance.

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Next, during the sentencing phase of trial, [*9] a bench
conference ensued regarding whether LaFlamme
received the State's notice of its intent to present
testimony of unadjudicated arrests. The trial court called
Mr. Castillo to the bench to inquire whether he had
received the notice and whether it had been forwarded
to LaFlamme. Based upon Mr. Castillo's answers, the
trial court sustained LaFlamme's objection. LaFlamme
did not object to the trial court's inquiry of Mr. Castillo.

We conclude LaFlamme's argument must fail because
review of the record reveals Mr. Castillo did not
represent LaFlamme at trial, but only assisted the trial
court in the facilitation of the proceedings out of the
presence of the jury. Mr. Castillo’s discussion during a
bench conference was to assist the trial court in
understanding what occurred while Mr. Castillo was
LaFlamme's counsel and to clarify confusion. Mr.
Castillo's assistance in finding a witness was simply to
facilitate the trial process and was done with the trial
court's clear instruction that Mr. Castillo was not actively
participating in the trial process. Because Mr. Castillo’s
assistance did not constitute representation of
LaFlamme, his assistance could not have "denied Mr.
LaFlamme due [*10] process and his right to fair trial by
confiagrating his rights to counsel and his right to
represent himseif."

In any event, were it error for the trial court to request
Castillo's assistance, LaFlamme failed to show harm.
Following Mr. Castillo's explanation regarding the Rule
404(b} notice, the trial court sustained LaFlamme's
objection. Following Mr. Castillo’s assistance in locating
LaFlamme's witness, she appeared in court and
testified.

To the extent LaFlamme contends the trial court erred
by refusing his request for Mr. Castillo's assistance
during trial, a denial of his Fifth Amendment right to
counsel, review of the record reveals LaFlamme never
requested Mr. Castillo's assistance, nor did he ever
indicate he no longer wanted to represent himself.
LaFlamme concedes he never withdrew his waiver of
counsel and never invoked his right to have Mr. Castillo
assume representation or assist in representation.

To the extent LaFlamme contends the trial court erred
by denying his Sixth Amendment right to self
representation by appointing stand by counsel or by
requesting that Mr. Castillo assist LaFlamme, review of
the record dispels this construed argument. Also, at no
time did LaFlamme object to Mr. Castillo's assistance.

[*11] For these reasons, we overrule LaFlamme's

fourth issue.

issue Five: Trial Court's Failure to Sua Sponte
Remove a Jury Member whom LaFlamme Neglected
to Strike

LaFlamme contends the trial court erred by refusing to
allow him to use one of his peremptory challenges to
strike a jury member after the jury was seated and by
failing to sua sponte remove the jury member.
LaFlamme asserts he made clear to the judge that he
intended to strike the subject juror; however, he
mistakenly failed to do so. Therefore, LaFlamme
contends the trial court committed harmful error by not
allowing him to use a peremptory strike after he turned
in his strike sheet.

The record reveals that after the voir dire examination,
each side submitted to the court its list of peremptory
strikes, and the court clerk announced the names of the
twelve jurors. Once the jurors were seated in the jury
box, but before they were sworn, LaFlamme objected to
a specific juror's placement on the jury, stating he had
stricken this juror. The trial court reviewed the
peremptory strikes of both parties and proclaimed that
LaFlamme had exercised only seven of his ten
peremptory strikes and did not strike the subject juror.
Because LaFlamme[*12] had not exercised a
peremptory strike on the subject juror, the trial judge
denied LaFlamme's request to utilize a peremptory
strike after the strike sheets were turned in and the jury
was seated.

Each party must assure that the jury does not include a
juror that was stricken. Truong v. State, 782 S.W.2d
904, 905 (Tex. App.—Houston [14th Dist] 1989, pet.
refd). lf such error is called to the trial court's attention
before the jury is sworn, and the error is not cured,
automatic reversal is required. Pogue v. State, 553
S.W 2d 368. 370-71 (Tex. Crim, App. 1977). However,
when a party presents no documentation or otherwise
shows a mistake occurred, the party's mere assertion of
mistake does not compel correction of the alleged error.
Jackson v. State, 826 S.W.2d 751, 751-52 (Tex. App. —
Houston [14th Dist] 1992, pet. refd). It is inequitable to
allow a party to alter his peremptory strikes by merely
making an assertion or claim of mistake, unsupported
by anything in the record, after having seen the other
party's strikes. /d.

 

 

 

 

 

As in Jacksen v. State, the record before the trial court
and before this Court presents no evidence of a mistake

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in the exercise of LaFlamme's peremptory challenges or
in the trial court's seating of the jury members. Other
than LaFlamme's mere assertions that he intended to
strike, or made a mistake in failing to strike the subject
juror, nothing in the record supports this claim.
Therefore, [*13] the trial court did not err by failing to
sua sponte remove the subject juror or by denying
LaFlamme's request to exercise a peremptory strike on
the subject juror after the jury was seated, but before it
was sworn. See Jackson, &26 SW. 2d at 751-52.

We overrule LaFlamme's fifth issue.

CONCLUSION

For the reasons stated, we affirm the trial court's
judgment.

Irene Rios, Justice

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BRIDGETT COLLINS
 

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APPENDIX

TAB "B" JUROR QUESTIONNAIRE CARDS ADDRESSED IN GROUND ONE

TAB-B.1

TAB-B.2
TAB-B.3

TAB-B.4

TAB-B.5

Juror #5 Martha Lidia Rodriguez,sister of Officer Marco
A.Rodriguez who served as lead investigator in the present
and Martha signed petitioner's guilty verdict and she is
married to police officer Michael Johannes,and she listed
her rece as white.

Juror #6 Carlos Adan,Laredo Police Officer.

Juror #10 Maria Luz Manrique who is the wife of Stste
witness Jose Luis Manrique testified at both trials as
DRE. Also Maria listed her race as white in juror card.

Juror #9 Alfredo M.Vidaurri,employed with Department Of
Homeland Security.

Juror #11 Irma Laura Davila she is married to retired
Laredo Police officer Jose Davila Jr. Also listed her
race as white.

Abelardo Rodriguez,listed his race as white, and he claims
to be a lock smith for 3 yrs. However Mr.Rodriguez is 57
yrs. old thus one could logically surmise that he is
retired from possibly the LPD and he too listed his race
as white when all these jurors are clearly hispanic or

of Latin origins. Did they misrepresent themselves?

TAB-B.7 "GUILTY" Verdict Signed By Martha Lidia Rodriguez/Evidence

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JUROR QUESTIONNAIRE

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Tab-B.2

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Tab-B.3

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Tab-B.4

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Tab-B.5

 

JUROR QUESTIONNAIRE

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THIS FORM MUST BE COMPLETED AND BROUGHT WITH YOU WHEN REPORTING FOR JURY DUTY.

 
Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 13 of 37

Tab-B.6

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~ - JUROR QUESTIONNAIRE PLEASE TYPE OR PRINT IN INK ONLY

THE FOLLOWING "JUROR QUESTIONNAIRE” IS MANDATED BY GOVERNMENT CODE, SECTION 62.0132.

  

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

    

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Case 5:18 GO5384 Document 3 Filed on 09/11/18 in TXSD_ Page 14 of 37

CAUSE NO. 2013CRM000160D4

THE STATE OF TEXAS | § IN THE DISTRICT COURT
§
VS. § 406" JUDICIAL DISTRICT
§
MICHAEL WILFRED LAFLAMME § WEBB COUNTY, TEXAS
VERDICT OF THE JURY

We, the Jury, find the Defendant, MICHAEL WILFRED LAFLAMME,

Guilty of the offense of INTOXICATION ASSAULT,
“Guilty” or “Not Guilty”

a FELONY 3 offense.

Marthe. Kcesauens

P esiding Juror

  
    

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CLERK OF THE DIST. COURTS
& COUNTY COURTS AT LAW
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Charge of the Court ~ 2013CRMO0L60D4
 

 

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January 4, 2012 2:49:49 PM

  

 

 

 

 

 

 

 

 

 

 

 

  

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For some non-drug cases, it may bea — a

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Have any of these exhibits been previously analyzed by a laboratory? CT] Yes|/|No ifso, What Exhibit #s?

 

 

 

 

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my : LAB-06 Rev.00 (11/2002) “

 
 

Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 16 of 37

APPENDIX

TAB C-CASE SUPPLEMENTAL REPORTS ADDRESSED IN GROUND THREE

"NO EVIDENCE OF INTOXICATION"

TAB C.1 Case Supplemental Report made by Marco A.Rodriguez
7% months after auto-ped accident hi-lighted where
officer J.R.Gonzalez copied officer Rdz.

TAB C.2 Case Supplemental Report made by Officer Jesus Robert
Gonzalez almost two yrs. after auto-ped accident Hi-
lighted where he copied M.A.Rdz. report.

TAB C.3 Case Supplemental repot made by officer Charles Rosales
two yrs. after auto-ped accident,Hi-leghted wher he and
Sgt.Anthony Gomez plagiarized eachother.

TAB C.4 Case Supplemental Report Created by Sgt.A.Gomez almost
“two yrs. after auto-ped accident Hi-lighted where he
and officer C.Rosales inappropriately shered information.
Also where Sgt. Gomez placed F.D.De Hoyos at scene.

TAB C.5 Case Supplemental report created by Officer F.D.De

Hoyos in which he claimed not to remember being at the
scene notwithestanding the fact that Sgt.A.Gomez placed

him at the scene in his report and officer F.D.De Hoyos

gave-petitioner a field sobriety test on the day of the

auto-ped accident and they prevented him from testifying
in both trials dispite him being subpoenad.
 

Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 17 of 37

TAB C.1

CASE SUPPLEMENTAL Printed: 09/14/2012 09:35

  

“thea: 11033953

Laredo Police Department

 

 

- <THE INFORMATION BELOW IS. CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY oe
Case Status: CLEARED BY ARREST Case Mng Status: TURNED OVER TO DAS Occured: 71/03/2011]
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator: RODRIGUEZ, MARCO A = (3618) Date / Time: 06/21/2012 11:11:46, Thursday
Supervisor: RODMAN, GABRIEL E Sr (2522) Supervisor Review Date / Time: 06/21/2012 23:33:37, Thursday
Contact: Reference: Offense Report
ae

 

On November 03, 2011 at approximately 1619hrs, I Traffic Officer Marco A. Rodriguez IBM (743) while working
Traffic Enforcement heard over the police radio of an Auto Pedestrian accident at the intersection of Malinche Ave.
and Green St. Officers who arrived shortly advised that the female pedestrian later identified as Edna Rios Gonzalez
12/20/1954 out of 2003 Mercer St. was in serious condition and was being transported by ambulance to the Laredo
Medical Center. The vehicle involved was identified as a 1996, Green Chevrolet Tahoe with Texas Plates 1KG-356
driven by Michael La Flamme 05/13/1970 out of 368 S. Farm Market 649.

When Ms. Rios was being transported to The Laredo Medical Center officers on scene requested the "Crash Team"
which is composed of Traffic officers and Accident Reconstructionists. 1 Officer Rodriguez proceeded to the location
along with Traffic Officer J.G. Pena. On arrival, I met with Officers on scene who had kept the accident scene secured
and blocked off for traffic. At that point, Ms. Rios was already at the Laredo Medical Center and was being prepared
to be transported to a San Antonio, Texas Hospital due to her serious injuries.

Prior to making contact with the driver of the vehicle an unidentified male approached me and advised that he has seen
the similar green Chevrolet SUV, involved in the accident, a couple of times by a drug house around the corner and for
police to check him for possible drugs. I then made my way to the patrol unit where they had the driver Michael La
Flamme inside a patrol unit.

I asked Mr. LaFlamme what had happened and he stated that he was traveling south bound on the 100 block of S.
Malinche Ave. on the right side of the roadway. Mr. LaFlamme stated that he was driving on his side of the roadway
when he noticed Ms. Rios but was unable to stop on time. Mr. La Flamime stated he noticed Ms. Rios walking
southbound adjacent to the west side of the curb at the time of impact. While talking to Mr. La Flamme I noticed he
seemed to be under a Control Substance for the reason that he appeared as if La Flamme was drowsy and sleepy. La
Flamme repeatedly closed his eyes and lowered his face as if he was falling asleep while he explained in a slurred
speech his side of the story. La Flamme did appear as if he was under the influence of a Control Substance based on
my knowledge, training, and experience when dealing with these types of individuals, I was also unable to detect any

signs of alcoholic beverage use. While interviewing Mr. LaFlamme I also noticed his eyes were blood shot, appeared
red in color and dilated.

La Flamme was told he was going to be transported to the Laredo Medical Center to collect a specimen of his blood by
a certified phlebotomist. La Flamme was explained that the reason forthe collection of his blood specimen was that |
Officer Rodriguez had probable cause that he was under the influence of a control substance and that the auto
pedestrian accident resulted with the other party receiving serious bodily injuries in which she had to be airlifted to a
San Antonio Hospital. Mr. La Flamme acknowledge verbally by stating ok. On November 3, 2011, certified
phlebotomist Juan Pablo Granger drew the blood from Mr. LaFlamme. The blood vials were turned over to me where
it was then logged into the Police Department property room with evidence tag # 2011-4808 Locker L-SIA.

 

 

 

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6) "Case 5:18-cv-00134 SSESUPPSEMENTALREPOR:, txsp Pag Etintedi09a4/2012 09:35

Laredo Police Department Oca: 11033953
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Case Status: CLEARED BY ARREST Case Mng Status: TURNED OVER TO DA'S Occured: / 1/03/2011
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator: RODRIGUEZ, MARCO A (3618) Date / Time: 06/21/2012 11:11:46, Thursday
Supervisor: RODMAN, GABRIEL E Sr (2522) Supervisor Review Date / Time: 06/21/2012 23:33:37, Thursday
Contact: Reference: Offense Report

 

On March 5, 2012 Alcohol Analysis report from the Department of Public Safety Weslaco Crime Laboratory arrived to
the Laredo Police Department with a "No alcohol detected" on La Flamme.

Results for drugs on La Flamme arrived May 16, 2012, from the Texas Department of Public Safety Crime Laboratory
in Austin, Texas with results of Benzoylecgonine (cocaine metabolite) at 0.62 milligrams per liter and Morphine at
0.01 milligrams per liter.

On June 20, 2012 the case was introduced to the District Attorney where an Intoxication Assault F/3 Warrant was
approved. The warrant listed was signed by judge Hector Liendo at $75,000.00 bond. The same day June 20, 2012
subject Michael] LaFlamme was arrested at International Bridge #2 located at 100 Sta. Ursula Ave. LaFlamme was
read his miranda warnings in english then taken to the Laredo Police Department for booking process where he was
later transported to the Webb County Jail under $75,000.00 bond set by Judge Hector Liendo.

 

 

 

Page 7
 

 

 

 

3 case 5:18-cv-00134 SXSErSUPPLEMENTAR/REPORTXSD Page BGnted310/07/2013 10:30
TAB C.

Oca: 11033953

 

 

Case Status: CLEARED BY ARREST Case Mng Status: TURNED OVER TO DA‘S Occurred: / 1/03/2011
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator: GONZALEZ, JESUS ROBERT Jr Date / Time: 09/25/2013 00:42:17, Wednesday
Supervisor: /JLLARREAL, GILBERTO (2912) Supervisor Review Date / Time: 09/25/2013 02:39:29, Wednesday

- Contact: Reference: Assisting Officer Supplement

 

On November 3rd 2011 at approx. 4:20 p.m. I Ofc. J. Gonzalez was dispatched to an auto pedestrian accident at N.
Malinche Ave. and Green St. While en-route to the scene Laredo Police dispatch advised that the patient was on the
ground and provided no other information. As I continued t to the scene,.Sgt. .A. Gomez who had already arrived at the
scene began advising via police radio that a fem. lens i = BF0 ind unresponsive. Upon arrival at the scene |
noticed that not only was Sgt. Gomez there, but fe. Ga Ropelesasivell:wboh ere both attending to the victim later
identified as Edna Gonzalez Rios. 1 then immedipt y noticed eslendet Tipliti complected male subject later identified
as Michael LaFlamme (D.O.B 05-13-70) pacing hack: ‘anditforils onthe ‘SAG OF the street with his hands gripping the top
of his head next to a green in color Chevrolet Tahiga. CEnenanse aigple er Plates (1KG-356).

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I then approached Mr. LaFlamme and as | walked closer to him, he kept saying that he didn’t mean to hit her. He
then mentioned that she, referring to the female victim came out of nowhere and he couldn't stop on time. Mr.
LaFlamme showed concern for the female victim and kept asking hysterically over and over again if she was going to
be o.k. He then kept saying ‘Oh shit J fucking killed her," I then briefly spoke to him in an attempt to gather more
information on the situation at hand. As I continued speaking to him I noticed that he had blood-shot eyes, spoke in a
slurred/slow speech, and had dry mouth to the point where he had white markings on the edges of his mouth,/ He aiso
had ‘severely c cracked lips which were peeling and kept licking his lips non-stop as if trying to keep them wind I also

noticed a few more characteristics such as dilated pupils,{profuse sweating, and what concerned me the most was his
behavior which would go from a very fast and alert pace With eyes wide open to a slow, droopy, and sluggish pace.
Mr. LaFlamme on several occasions while talking at eye level would lower is head and would begin to dose off or r fall
asleep which lasted only for a few seconds and would then continue conversing’bufActually.was lost lost about the the ~
conversation. At that time due tofiny knowledge, training, and experience-witht dealing wi with those TPES 0 of in individuals¥

‘it appeared that Mr. LaFlamme was under the influence of some typ of eon substance, ‘t £1 was
unable to detect any signs of alcoholic beverage usefor consumption. \ 7; oe

 

 

 

 

 

 

 
  

 

 
   

Meanwhile, Laredo Fire and Rescue personnel mentioned that a ee eran Late serious
injuries and that she would be transported to the Laredo Medical Cente} _for anther treatment. Sgt. A. Gomez later
requested the Laredo Police Department Traffic Division reconstruction team who took over the accident being that it
involved serious injuries. Mr. LaFlamme was later detained in the back-seat of a patrol unit by an assisting officer. |
then focused on securing the scene awaiting the arrival of the "Crash Team" led by Case Officer M. Rodriguez. As I
stood at a distance, I frequently glanced at Mr. LaFlamme and noticed that he was asleep as he sat in the back-seat of
the patrol unit which was not normal given the circumstances. Upon the arrival of the "Crash Team,” they were briefed
on the accident which they later took over. .

Investigator Signature:

 

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Laredo Police Department

Case 5:18-cv-00134 TASE-RYUPELEMENTARL REPORT XSD Page Pxintesiztf/07/2013 10:30

 
  

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Case Status: CLEARED BY ARREST
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Case Mng Status: TURNED OVER TO DA’S

Occurred: / 1/03/20] 1]

 

Investigator: GONZALEZ, JESUS ROBERT Jr
Supervisor: VILLARREAL, GILBERTO (2912)
Contact:

Supervi

Pi

 
 
 

sez Dated Tite: 09/25/2013 00:42:17, Wednesday
-Review'Date / Time: 09/25/2013 02:39:29, Wednesday

ting Officer Supplement

 

 

   
 

 

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i

 

Case Officer Mark Rodriguez later informed us that

"ir: LaF lamme was to be transported to Laredo Medical

Center to collect a specimen of his blood for future analysis due to the fact that it was suspected that he was under the
influence of a controlled substance as mentioned earlier. This was done since the accident involved serious injuries.
Ofc. C. Rosales later transported him to the Laredo Medical Center hospital.

Investigator Signature:

Supplements [Edit]

 

Page ?
Case 5:18-cv- 00134 B88 SRRL-EMENTALRERGRTTXSD PagePrintedt 30/07/2013 10:30
TAB C.3

OcA: 11033953

 

Case Status: CLEARED BY ARREST Case Mng Status: TURNED OVER TO DA'S Occurred: / 1/03/2011]
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator: ROSALES, CHARLIE A (5308) Date / Time: 09/11/2013 01:07:32, Wednesday
Supervisor: VILLARREAL, GILBERTO (2912) Supervisor Review Date / Time: 09/12/2013 02:37:17, Thursday
Contact: Reference: Assisting Officer Supplement

 

On November 03, 2011 at approximately 1620hrs, I was dispat sh.to ¢ an. Auto: Pedestrian Accident at the intersection of
Green St and Malinche Ave. It was reported that a pati -was-down'on the ground’ ‘and was unresponsive. I arrived at
approximately 1624hrs and directed my attention to a female; ; who! ‘was - jaying. on the asphalt. The female victim was
later identified as Edna Rios Gonzalez. a als

A male subject later identified as Michael LaFlamme,| ‘who’ ing de’ of slurred ‘speech mentioned that the vehicle
was operated by him and he was unable to stop on time. (LaF lamme appeared to have b oodshot eyes Jerymouth to the
point where he had white markings on the edges of his mouth} LaFlamme also had dilated pupiis and would
constantly move his lower jaw side to. side and up and down. LaFlamme did demonstrate concern for the victim, as he
constantly asked if she was going to be okay. LaFlamme began to pace up and down, and because of the
aforementioned characteristics, a concern grew that LaFlamme might possibly be under the influence of some type of
stimulant.

Meanwhile Laredo Fire and Rescue Paramedics mentioned that the victim appeared to have suffered serious injuries
and she would be transported to the Laredo Medical Center. Laredo Police Department Traffic Division was called by
Sgt Gomez and asked to take over the accident, as it involved serious injuries. I then observed LaFlamme as he
would dose off and then wake up as he sat in the back of the patrol car.

Officer Mark Rodriguez_later arrived on scene and askedithat LaFlamme be transported-te Laredo Medical Center
and have samples of his blood taken. This was done since the accident involved serious bodily injuries. I transported
LaFlamme to the Laredo Medical Center and waited for Officer Rodriguez: to.arrive. Samples were eventually taken
from LaFlamme who kept dosing off, only to wake up and become. very restless. LaFlatnme complained and
threatened to file charges and lawsuits against anyone who drew blood from his body. He mentioned that he did not
consent to the taking of his blood. He argued that he would filé-assault charges if force was used to draw his blood.
Officer Rodriguez explained to LaFlamme that it was a procedure that is followed when an accident involves serious
bodily injuries. LaFlamme eventually agreed to the withdrawal of his blood.

  
 

Investigator Signature:

 

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Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 22 of 37
TAB C.4 . «SE SUPPLEMENTAL REPORT Printed: 10/07/2013 11:40

NOT SUPERVISOR APPROVED

OCA: 11033953

 

 

 

 

Investigator: GOMEZ, ANTHONY (1649) Date/Time: 10/07/2013 10:41:15, Monday
Supervisor: (0) Supervisor Review Date / Time: NOT REVIEWED
Contact: Reference: Assisting Officer Supplement

 

On November 3rd 2011 at approximately 4:19pm, the Laredo Police Department received a call for an auto-ped
accident by Malinche Avenue and Green Street. Dispatch send a couple of units and I Sgt Anthony Gomez was
dispatched as well, I arrived at around 4:25 pm. Upon arrival, I observed an elderly female on the ground on Malinche
Street. Female was later identified as Edna Gonzalez d.o.b. 12.20.1954 of 2003 Mercer Street. Mrs. Gonzalez was
unconcious and had shallow breathing. There was a green Chevrolet Tahoe with Texas plates 1KG-356 parked near by
Mis. Gonzalez.

At about this time, Officer Rosales and I were attending Mrs. Gonzalez attempting to wake her we would call her
out and try to get her to answer. She would not respond. An officer told me that they had the driver of the green Tahoe.
I just advised the Officer to secure the driver due to the fact that we were attempting to contact the CRASH team.
Officer J. Gonzalez (304) and Officer F.D. Dehoyos (215) were in the back with the driver of the green Tahoe, he was
later identified as Michael LaFlamme d.o.b. 05.13.1970. ,.

At this time Laredo Fire Department Paramedics had arrived and began working on Mrs. Gonzalez. As the tried to
stabilize Mrs. Gonzalez, a medic advised me that they could not stabilize and that they needed to transport ASAP, and
that most likely Mrs. Gonzalez was going to have to get airlifted to San Antonio due to the severity of her injuries.

Next, I notified dispatch to get a hold on the CRASH team. Sgt Michael Raines called me and informed me that they
were sending someone, and that they were short handed. Thus, from patrol I summoned Officer J.E. Martinez (1303)
and M.A. Villarreal (1511) as they were both former traffic and CRASH team members to assist on this auto-ped
accident. Officer Marco Rodriguez and J.G> Pena responded to the auto-ped accident.

I was scanning the scene and observed the tire marks where the green Tahoe leaving the actual lane of travel and
jumping the curve. Furthermore, I observed the hood area of the green Tahoe with fresh damage. Consistent with what
a male witness stated at the scene. As I continued to walk the scan the scene i found some paint chips that appeared to
belong to the green Tahoe, just a few feet North of the accident scene. Placing the point of impact just north of from
where Mrs. Gonzalez landed,

The witness was secured and a statement was obtained from this maie witness. Aiso, A CSI was requested. CSI
Abrahm DeLa Garza responded and took photographs of the scene and the vehicle.

Meanwhile, I saw the subject Laflamme in the backseat of a unit. I observed his behavior fr from 1 close by. Laflamme
was saying to the effect, “Oh shit Tkilled her.” ” He continued saying things such as<'] didnt mean to killer her."
rofu: e also had cotton

ete nna sie en

({,Laflamme was sweating profusely and without reason} He had what appeared -te be blood shot e es.
mouth and he continued to lick his lips in attempts to moisten his lips} He was acting & really nerves antsy, he would
keep stroking his arms and tights. Then he would just stop his behavior and he would start it up again. He looked to be

under the influence of narcotics{(LaFlamme did not smell like alcohol! he i in my personal experience looked to be high
under the influence of drugs. na ne —_—

 

Investigator Signature:

 
 

 

 

 

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Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 23 of 37
TAB C.9 oca: 11033953

 

 

   

_—~ weneuss CLEARED BY ARREST Case Mag Status: TURNED OVER TO DA’S Occurred: / 7/03/2011
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator: DE HOYOS, FERNANDO DANIEL Date / Time: 09/1 1/2013 00:56:07, Wednesday
Supervisor: LICHTENBERGER, NICHOLAS Supervisor Review Date / Time: 09/] 1/2013 01:48:34, Wednesday
Contact: Reference: Assisting Officer Supplement

 

 

ON 09/05/2013, I OFFICER F DEHOYOS WAS CONTACTED BY SGT. GRANADA DURING THE AFTERNOON
HOURS BY PHONE. SGT. GRANADA ADVISED ME TO CONTACT ASSISTANT DISTRICT ATTORNEY
TIMOTHY EDDINGS FOR CASE#!1 1-033953. SHORTLY AFTERWARD, I CONTACTED MR. EDDINGS BY
PHONE AND WAS ADVISED BY HIM TO MAKE CONTACT WITH: HIM ON 09/06/2013 AT 1110 VICTORIA
ST TO DISCUSS A CASE PERTAINING TO AN AUTOPED CALL AT GREEN ST/N MALINCHE AVE. MR.
EDDINGS HAD ADVISED ME THAT AN ELDERLY WOMAN HAD BEEN STRUCK BY A VEHICLE AT
LISTED INTERSECTION. AS SOON AS I WAS INFORMED OF THE INCIDENT, I COULD NOT RECALL
EVEN THE SLIGHTEST MEMORY OF THAT PARTICULAR INCIDENT. WHEN I CAME ON DUTY LATER
THAT NIGHT, I REFERRED BACK BY THE CASE NUMBER TO THAT PARTICULAR CALL AND NOTICED
THAT I HAD ARRIVED AT 16:28 HOURS AND CLEARED THE CALL AT 16:41 HOURS(13 MINUTES).
LATER THAT MORNING, I CALLED A.D.A. EDDINGS AND ADVISED HIM OF MY FINDINGS. MR.
EDDINGS THEN ASKED ME IF I COULD BRING IN A CALL LOG OF THE DISPATCH PAGE TO HIM FROV
RECORDS. I THEN DROVE OVER TO POLICE HEADQUARTERS AND MADE CONTACT WITH THE
RECORDS DEPARTMENT AND WAS ABLE TO RETRIEVE THE CALL LOG. AFTER RETRIEVING THE
LOG, I DROVE OVER TO MR. EDDINGS OFFICE AND SHOWED HIM THE LOG FORM AND EXPLAINED TO
HIM THAT THE REASON THAT I DID NOT REMEMBER ANY DETAILS OF THE INCIDENT IS BECAUSE I
WAS AT THE SCENE FOR ONLY 13 MINUTES. I ASSUMED THAT I MIGHT HAVE ARRIVED AT THE
SCENE AND STAYED ON THE OUTSKIRTS OF THE CRASH SCENE AND WAS THEN SHORTLY WAS
ASKED BY DISPATCH TO TAKE ANOTHER ACCIDENT CALL AT GUATEMOZIN ST/STONE

AVE(CASE#! 1-033959). I THEN EXPLAINED TO MR. EDDINGS THAT IT WAS MY BELIEF AND REASON
WHY I DID NOT RECALL EVER SEEING MR. MICHEAL LA FLAMME, , HIS VEHICLE NOR THE ELDERLY
LADY THAT WAS INJURED IN HIS CASE. a

Investigator Signature:_
r_supp3 Page |
Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 24 of 37

APPENDIX
TAB-D

TAB-D Entravision Communications Corp. 222 Bob Bullck Loop, Laredo

AAT
DOI

Texas 78043, entered into evidence by Business Record

Affidavit, signed by custodian of records, Alma E. Ferrara,

~.on July 1,2015. Video has been modified from video shown in

cboth trials. this video was cropped down so it only shows .

the lower back bumper of the Chevy Tahoe and the shoe in the
street, Also the segment that shows the police officer with
police car in the background has been cropped so you can't
see that it wasn't filmed at the intersection of Malinche ]
and Green St. Notice in this altered video you can not see
the police sirens on the cop cars. During the trial I asked
State Witness,Jose Luis Manrique: "What did you notice about
the police cars? Did they have sirens on?" Mr. Manrique:"Yes"
Petitioner: "All of them right? They all had sirens?" Mr.
Manrique: "Yes." *(5 RR 183 line(s)1-5). I only have one

copy of this video. This video was not filmed on the day of

the accident.

 
 

Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 25 of 37

TAB-D-

TAD-D Video addressed in Ground Six. This video has been altere
from the video that was shown during the first and second
trial. This video was cropped down so you can't see the
Chevy Tahoe, ather than the back lower bumper and shoe in
the street. Also the police officer with police cars in
bachground has been cropped down so you can't see that
it wasn't filmed at the intersection of Malinche and Green
street. You also can't see the sirens on the police cars
that were visable in the video shown during trial.’(5 RR
183 line(s)1-5). Why was State witness,Jose Luis Manrique,
able to give testimony about the sirens during the trial
and in this altered video you can't see the police car

sirens. Unbelievable.
 

 

 

 
 

 
 

 

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APPENDIX

TAB “E"~ Original indictment.

TAB E.1 Complaint made by officer Marco A.Rdz in which he spoke
intoxication into existance 7% mo. after accident.

TAB E.2 Case supplemental report in which officer M.A.Rdz. spoke
intoxication into existance with complaint & supp. report
exact same report cut and paste inventing probable cause
due to nothing intoxicating in blood. Ham sandwich indictment.
Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 29 of 37
Tab-E

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THE STATE OF TEXAS
VS.
MICHAEL WILFRED LAFLAMME
D. O. B: 05-13-70
386 S FM 649
HEBBRONVILLE, TX 7836)
Booking No. 201200005612
TRN No, 9127606503
INDICTMENT
OFFENSE
INTOXICATED ASSAULT W/VEHICLE SBI F3
PENAL CODE: 49.07 CJIS CODE # 13990024
ATIORNEY
CARLOS QUESADA
NAMES OF WITNESSES:
GILBERTO BENAVIDEZ FERNANDO DE HOYOS ABRAHAM DELA GARZA JESUS
GONZALEZ JEMARTINEZ MARCO RODRIGUEZ CHARLIE ROSALES MARIO ALBERTO
VILLARREAL ANTHONY GOMEZ ARMANDO ELIZONDOJR. GJ PENA

D.0.0: 11-03-11 . D.A. FILE # 111-12-06073
D.O. A: 06-20-12 ASST. D.A. CARLOS QUESADA

A TRUE BILL: A), fee

Foreperson of the Grad Jury

Presented in open Court by the Grand Jury, a Quonim thereof being present, and filed the E,, of Fe, >

  

 

 

 

 

 

2013.
Esther Degoll: istrict Clerk, 27) District Court,
By, Vine Ochdralsds _, Deputy
i A Z_\
Vv tY vy lu

Amount of Bail, $

THE STATE OF TEXAS)
}
COUNTY OFWEg, 3

 

1. Esther Degollady, Clerk of the District Court of Weob County, Texas, do hereby certify that the within and
foregoing is a irue and correct copy of the original Bill of this indictmer , filed in said Court on the day of
A.D. 2013, in Cause No. . St cd The State of Texas VS.: MICHAEL WILFRED

te

*

v

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LAFLAMME.,
Given under my hand and seal of said Court, at office in Laredo, Texas, iis day of A.D. 2013.

ESTHER DEGOLLADO, Clerk

By - Deputy

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eran eT) emg INH ee! SIE NT eR A IY TP

  

 
Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 30 of 37

In the Name and by the Authority of the State of Texas:

THE GRAND JURORS, duly selected, organized, sworn and impaneled as such for
the County of Webb, State of Texas, at the JANUARY-JUNE term, 2013, of the 1147
DISTRICT COURT sitting in for the 406th District Court of said County upon their oaths
present in and to the said Court that on or about the 3rd day of November, A.D., 2011
and anterior to the presentment of this indictment, in the County and State aforesaid,
MICHAEL WILFRED LAFLAMME, did then and there operate A MOTOR VEHICLE
IN PUBLIC PLACE while intoxicated by reason of the introduction of alcohol into the
body, and did by reason of such intoxication cause serious bodily injury to another, namely,
EDNA GONZALEZ, by accident or mistake, to-wit: by DRIVING SAID MOTOR

VEHICLE INTO THE PERSON OF THE.SAID INJURED PARTY.

Against the Peace and Dignity of the State.

 

ALE a

 

Foreperson of the Grand Jury

57

 
 

 

 

Case 5:18-cv- 00134 _Document 3 Filed on 09/11/18 in TxSD Page 31 of 37

NO. ‘Wy ~ / / SY

‘WEBB. COUNTY, TEXAS
COMPLAINT

I, Officer Marco A. Rodriguez, LPD, being duly sworn,-do state upon my cath, that Thave
reason to believe and do believe based upon the following information:

On November 03, 2011 at approximately 1619brs, I Traffic Officer Marco A. Rodrigue
(743) while working Traffic Enforcement heard over-the police radio ofan Auto Pedestrian |
accident at the intersection af Maliache Ave. and Green St. Officers wlio arrived shorily
advised that the female pedestrian a “as Edna Rios Gonzaler. 12/20/1954 out of 2003
Mercer St. was in serious condition and was being (ransported by ambulance to the Laredo.
Metical Center. The vehicle ievolved was identified-asa: 1996, Green Chevrolet Tahoe withi
Texas Plates IKG-356 driven by Michael La Flame 05/13/1970 out of 368 S. Farm Market :
649. When Ms, Rios was being iransp: rted-to Fhe Lared , Medical. Center officers. on scene |
eon sett the “Cras Team” which is composed of Paffic officers and Aeciden
Leconst odriguez prac ded to-the Tocation along with Traffic Officer 5G.
Pent, On antival, I met with Officers on scene. who had kept the accident scene secured and
Mocked off for traffic. At-that point, Ms. Biss was diready at-the Laredo Medical Center and was
¢ prepared to be trazsperted to. a San Antonin, Texas Hospital due to her serions injuries.
Prior te making contact with the driver of the vehicle:an anifdle entified male apptoa
advised-that he has seen the similar sreen Chevrolet SUV;. ‘involved in the accident, a couple of
duats by a dmg honse around the comer aut! for poise f6 check hisa for possible drugs, T ther
made nay way to the pateol unit where they-lind the driver Michael La Fiz cE Side a. i:
wait asked } i - what had: Ha venta and he stated that he was traveling south bound
on the #60 block of S. Malinche Ave. on the right side of the roadway. Mr. LaFlanune stated

© was driving on his side of the roadway when lie naticed Ms. Rios but was unable to stop

on time, Mr. La Flamme stated he noticed Ms. Rios walkine southbound adjacent to the west.

side of the curb at the time of impact. While talking to Mr. La Flamme I neticed he seemed tobe
wader a Control Substance for the reason that he appeared as if La Flamme was drowsy and
sisepy. 1a Flamme-repeatedly closed his eyes and lowered his face. as if he was falling asleep -
ee na a slurred speech his side-af story. La Plamme did appear as if he was
Control Substance bagi off my knowledge, training, and experience
i « with these types of individuals'l was also unable to detect any signs of alecholic
ISe Al Wile merowing Mr. LaF larome J also noticed his eyes were blood shot,
appeared red.in color and dilated. 1 La Flamme was told he was going to be transported to the -
a redo Medical Center to collect a. of his blood by a certified phlebotemist. La
Flamme ‘was explained that the reason n for the collection of his blood specimen was that I Officer
odriguez had probable cause that he was under the influence ofa control substance and that the
atito pedestrian accident resulted with the other party receiving serious bodily injuries in which
she had to be airlified to a San Antonio Hospital. Mr. La Flamme acknowledge verbally by
iting ok. On November 3, 2011, certified phlebotomist Juan Pablo Granger drew the blood -
from Mr. LaFlamme. The blood vials were tumed over to me where it was then logged into the

 

 

 
  

 

 
 

 

 

 

    

 

   
   

 

 

 
 

 

 

we.

 

Case 5:18-cv-00134- Document 3 Filed on 09/11/18 in FXSD_ Page 32 of 37

Police Department:property reom with evidence-tag #.2011-4808 Locker L-51A. On March 5,
2012 Alechol Analysis report from the Department of Public. Safety Weslaco Crime Laboratory
arrived to the Laredo Police Department with a “No alcohol detected” on La Flamme, Resulis
for drugs on La Flamme arrived May 16, 2012, from the: Texas Department of Piiblic Safety -
Crime Laboratory ia Austin, Texas withresnlis af Benziyleegonine (cocaine metabolite) at 6 62

milligrams per liter and Morphine at'0:01-milfigrams per liter.

And] charge that heretofore, that-an or about the art day: of November, 201. 1, inthe County of Webb
and State of Texas, Michaela Flaming, Defendant, did thea and-there operat® amotor vehicle i ina

go place. while intoxicated by reason of the: ‘ntrodnotion ofa controlled substance, a drag; or &
a ¥ caiige metabolite] 0.62 milligrams per liter and

Morphine 0.01 milligrams per liter), and aid by. aon of such intoxication cause serious bodily
injury to another, namely, Edina Rios Gon ale a ty ateident or mistake, to-wit: by driving’ said

motor vchicle inte the person of the said injx

 

 

 

 

 

Against the Pease-and Dign

  

 

 

 
Case 5:18-cv-00134 Document 3 Filed on 09/fg/Tae
. Tab-E.2 CASE SUPPLEMENTAL Rig

  
   

ye 33 of 37
Printed: 09/14/2012 09:35

 

 

DCA: 11033953

 

Case Status: CLEARED BY ARREST Case Mng Status: TURNED OVER TO DA'S Occured: / 1/03/2011
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator; RODRIGUEZ, MARCO A_ (3618) Date / Time: 06/21/2012 11:11:46, Thursday

Supervisor: RODMAN, GABRIEL E Sr (2522) Supervisor Review Date / Time: 06/21/2012 23:33:37, Thursday

Contact: Reference: Offense Report

ae

On November 03, 2011 at approximately 1619hrs, I Traffic Officer Marco A. Rodriguez IBM (743) while working
Traffic Enforcement heard over the police radio of an Auto Pedestrian accident at the intersection of Malinche Ave.
and Green St. Officers who arrived shortly advised that the female pedestrian later identified as Edna Rios Gonzalez
12/20/1954 out of 2003 Mercer St. was in serious condition and was being transported by ambulance to the Laredo

Medical Center. The vehicle involved was identified as a 1996, Green Chevrolet Tahoe with Texas Plates 1KG-356
driven by Michael La Flamme 05/13/1970 out of 368 S. Farm Market 649.

When Ms. Rios was being transported to The Laredo Medical Center officers on scene requested the "Crash Team"
which is composed of Traffic officers and Accident Reconstructionists. 1 Officer Rodriguez proceeded to the location
along with Traffic Officer J.G. Pena. On arrival, I met with Officers on scene who had kept the accident scene secured

and blocked off for traffic. At that point, Ms. Rios was already at the Laredo Medical Center and was being prepared
to be transported to a San Antonio, Texas Hospital due to her serious injuries.

Prior to making contact with the driver of the vehicle an unidentified male approached me and advised that he has seen
the similar green Chevrolet SUV, involved in the accident, a couple of times by a drug house around the corner and for
police to check him for possible drugs. I then made my way to the patrol unit where they had the driver Michael La
Flamme inside a patrol unit.

I asked Mr. LaFlamme what had happened and he stated that he was traveling south bound on the 100 block of S.
Malinche Ave. on the right side of the roadway. Mr. LaFlamme stated that he was driving on his side of the roadway
when he noticed Ms. Rios but was unable to stop on time. Mr. La Flamme stated he noticed Ms. Rios walking
southbound adjacent to the west side of the curb at the time of impact. While talking to Mr. La Flamme I noticed he
seemed to be under a Control Substance for the reason that he appeared as if La Flamme was drowsy and sleepy. La
Flamme repeatedly closed his eyes and lowered his face as if he was falling asleep while he explained in a slurred
speech his side of the story. La Flamme did appear as if he was under the influence of a Control Substance based on
my knowledge, training, and experience when dealing with these types of individuals, I was also unable to detect any

signs of alcoholic beverage use. While interviewing Mr. LaFlamme I also noticed his eyes were blood shot, appeared
red in color and dilated.

La Flamme was told he was going to be transported to the Laredo Medical Center to collect a specimen of his blood by
a certified phlebotomist. La Flamme was explained that the reason for,the collection of his blood specimen was that I
Officer Rodriguez had probable cause that he was under the influence of a control substance and that the auto
pedestrian accident resulted with the other party receiving serious bodily injuries in which she had to be airlifted to a
San Antonio Hospital. Mr. La Flamme acknowledge verbally by stating ok. On November 3, 2011, certified
phlebotomist Juan Pablo Granger drew the blood from Mr. LaFlamme. The blood vials were turned over to me where
it was then logged into the Police Department property room with evidence tag # 2011-4808 Locker L-51A.

 

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Case 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 34 of 37
Laredo Police « Department oca: I] 033953
© FORMATION: BELOWIS: CONFIDENTIAL - FOR. USE BY AUTHORIZED PERSONNEL ONLY oo

  

 

Case Status: CLEARED BY ARREST Case Mug Status: TURNED OVER TO DA'S Occured: ] 1/03/2011
Offense: INTOXICATED ASSAULT W/VEHICLE SBI

 

Investigator: RODRIGUEZ, MARCO A= (3618) Date / Time: 06/21/2012 11:11:46, Thursday
Supervisor: RODMAN, GABRIEL E Sr (2522) Supervisor Review Date / Time: 06/21/2012 23:33:37, Thursday
Contact:

Reference: Offense Report

 

On March 5, 2012 Alcohol Analysis report from the Department of Public Safety Weslaco Crime Laboratory arrived to
the Laredo Police Department with a "No alcohol detected" on La Flamme.
Results for drugs on La Flamme arrived May 16, 2012, from the Texas Department of Public Safety Crime Laboratory

in Austin, Texas with results of Benzoylecgonine (cocaine metabolite) at 0.62 milligrams per liter and Morphine at
0.01 milligrams per liter.

On June 20, 2012 the case was introduced to the District Attorney where an Intoxication Assault F/3 Warrant was
approved. The warrant listed was signed by judge Hector Liendo at $75,000.00 bond. The same day June 20, 2012
subject Michael LaFlamme was arrested at International Bridge #2 located at 100 Sta. Ursula Ave. LaFlamme was
read his miranda warnings in english then taken to the Laredo Police Department for booking process where he was
later transported to the Webb County Jail under $75,000.00 bond set by Judge Hector Liendo.

 

Page 7

 

 
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APPENDIX
TAB-F

TAB-F Toxicology Report Addressed In Ground Three. Refer To Trial
Court State's Exhibit #25.
 

TABSE 5:18-cv-00134 Document 3 Filed on 09/11/18 in TXSD Page 36 of 37
S DEPARTMENT OF PUBLIUL SAFETY

CRIME LABORATORY
5800 Guadalupe
Austin, TX 78752
Voice 512-424-2105 Fax 512-424-2869
AustinCrimeLab@dps.texas.gov

   

STEVEN C. MCCRAW

 

 

 

 

 

COMMISSION
DIRECTOR A. CYNTHIA LEON, CHAIR
DAVID G. BAKER ADA BROWN
CHERYL MacBRIDE CARIN MARCY BARTH
DIRECTO! : .
| oepurvomecnn Toxicology Laboratory Report A OUNSTEEN
' Issue Date: May 16, 2012
M Rodriguez Laboratory # L3M-92293
Laredo Police Department Agency # 1133953
4712 Maher
: Webb
Laredo, TX 78041 County: We
Offense Date: 11/03/2011
Suspect(s) Laflarmme, Michael (DOB 05/13/70) TX DL 15408509 wet ea
Victim(s) Gonzalez, Edna Rios (DOB 12/20/54) TX DL 07077898 -!

 

Requested Analysis: Analyze for drug content
Submission Information:

1 Fed Ex white paper bag on January 05, 2012 by Fed Ex #8987582291690200
Evidence Description, Results of Analysis and Interpretation:

1 - Fed Ex white paper bag

 

 

1-01 - Gray top blood tubes (2)
Name was indicated on the plastic tube as "Michael Laflamme."

immunoassay Screening:

Drug Class: Result: - 4
Amphetamines Negative \
Barbiturates Negative \ eo
Benzodiazepines Negative foe
Carisoprodol/Meprobamate Negative i
Cocaine/metabolites *Further Analysis '
Opiates *Further Analysis \
Phencyclidine Negative

* Immunoassay screening indicated the need for further analysis; please refer to “Confirmation” section.
Further analysis may also have been performed due to submitted case information.

Confirmation:
Drug(s): Result: Method:
Benzoylecgonine (cocaine metabolite) 0.62 milligrams per liter LCMS
Morphine 0.01 milligrams per liter LCMS

The evidence is being returned under separate cover.

g STATE’S
g EXHIBIT
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&

 

asf |

 

THOPS 5.9.12 ACCREDITED BY THE AMERICAN SOCIETY OF CRIME LABORATORY DIRECTORS - LAB ACCREDITATION BOARD

COURTESY : SERVICE - PROTECTION Page 1 of 2

 

 
   

" GBSRIPTAUAGRRA Document? Fleder Qabslhein TED Pace Woh Soar
" LaM-92293 1133953 11/03/2011

This report has been electronically prepared and approved by:

Eduardo Padilla
Forensic Scientist
Texas DPS Headquarters Crime Laboratory

 

TxOPS 6.8.42
issue Date: May 16, 2012
Page 2 offe 2 of

 
